Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page1 of 9

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 2 of 9

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 3 019

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 4 019

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 5 019

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 6 019

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 7 019

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 8 019

Case 1:02-cv-02068-W|\/|N Document 100 Filed 08/21/2003 Page 9 019

